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8                          UNITED STATES DISTRICT COURT
9                         EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                CR. NO. 2:07-00248-07 WBS
15                  Plaintiff,                ORDER
16
           v.
17
     ALVARO COBIAN GOMEZ,
18
                    Defendant.
19

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23               On February 29, 2016, defendant Alvaro Cobian Gomez

24   filed a motion to reduce sentence pursuant to 18 U.S.C. § 3582.

25   (Docket No. 1387.)     The United States shall file an opposition to

26   defendant’s motion no later than August 15, 2016.          Defendant may

27   file a reply no later than August 30, 2016.         The court will then

28   take the motion under submission and will inform the parties if
                                          1
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1    oral argument or further proceedings are necessary.

2                IT IS SO ORDERED.

3    Dated:   July 11, 2016

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